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 3   Chief, Criminal Division
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 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA
                LODGED
        CLERK, U.S. DISTRICT COURT
10                                            UNITED STATES DISTRICT COURT

11    CENTRAL DISTRICT OF CALIFORNIA
                                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
       BY: ____________ ______ DEPUTY


12   UNITED STATES OF AMERICA,                                No.

13                           Plaintiff,                       GOVERNMENT’S EX PARTE APPLICATION
                                                              FOR ORDER SEALING DOCUMENT;
14                                      v.                    DECLARATION OF JOSEPH W. TURSI

15   MIGUEL ANGEL LOPEZ-MUNGIA,                               (UNDER SEAL)

16                           Defendant.

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18              Plaintiff United States of America, by and through its counsel
19   of record, the United States Attorney for the Central District of
20   California and Assistant United States Attorney Joseph W. Tursi,
21   hereby applies ex parte for an order that the government’s criminal
22   complaint and affidavit in support thereof, arrest warrant, and
23   notice of request for detention, as well as this ex parte application
24   and proposed order, be filed under seal.
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 1        This ex parte application is based upon the attached declaration

 2   of Joseph W. Tursi.

 3   Dated: May 5, 2025                   Respectfully submitted,

 4                                        BILAL A. ESSAYLI
                                          United States Attorney
 5
                                          LINDSEY GREER DOTSON
 6                                        Assistant United States Attorney
                                          Chief, Criminal Division
 7

 8                                        /s/ Joseph W. Tursi
                                          JOSEPH W. TURSI
 9                                        Assistant United States Attorney
10                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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 1                           DECLARATION OF JOSEPH W. TURSI

 2           I, Joseph W. Tursi, declare as follows:

 3           1.   I am an Assistant United States Attorney in the United

 4   States Attorney’s Office for the Central District of California.                 I

 5   am the attorney representing the government in this case.

 6           2.   The government requests leave to file its criminal

 7   complaint and affidavit in support thereof, arrest warrant, and

 8   notice of request for detention (the “Documents”), along with this ex

 9   parte application and proposed order, under seal.            Defendant has not

10   been taken into custody on the charge contained in the complaint and

11   has not been informed that he is being named as a defendant.               If the

12   Documents were publicly available, that may result in defendant being

13   notified and fleeing from prosecution and an increased risk in safety

14   to the law enforcement officers who are tasked with executing the

15   arrest warrant.

16           3.   Accordingly, the government requests that the Documents and

17   this ex parte application and proposed order be sealed and remain so

18   until defendant is arrested and taken into custody on the charge

19   contained in the criminal complaint.

20           I declare under penalty of perjury under the laws of the United

21   States of America that the foregoing is true and correct and that

22   this declaration is executed at Los Angeles, California, on May 5,

23   2025.

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                                               /s/ Joseph W. Tursi
25                                                 Joseph W. Tursi

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